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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

MARQUIS FURNITURE, INC.,
Plaintiff,
Vv. Case No. CIV-04-1604-F
MATHIS BROS. FURNITURE CO., INC., MATHIS
BROS. OKLAHOMA CITY, LLC, MATHIS
EVANS, LLC, MATHIS HOLDING, INC.,
BROYHILL FURNITURE INDUSTRIES, INC.,
and LA-Z-BOY, INC.,
Defendants.

BROYHILL FURNITURE INDUSTRIES, INC.,
Counter-Claimant,
Vv.

MARQUIS FURNITURE, INC.,
Counter-Defendant,
and

GARY D. BAUGH and MARY BAUGH,
Third-Party Defendants.

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MOTION FOR DISMISSAL WITH PREJUDICE

AS TO DEFENDANTS, MATHIS BROS. FURNITURE CO., INC.,

MATHIS BROS. OKLAHOMA CITY, LLC, MATHIS EVANS, LLC,
AND MATHIS HOLDING, INC., ONLY

The Plaintiff, Marquis Furniture, Inc., and the Defendants, Mathis Bros. Furniture
Co., Inc., Mathis Bros. Oklahoma City, LLC, Mathis Evans, LLC, and Mathis Holding, Inc.,
respectively, move the Court pursuant to Fed. R. Civ. P. 41(a)(2) for a dismissal with
prejudice as to Defendants, Mathis Bros. Furniture Co., Inc., Mathis Bros. Oklahoma City,
LLC, Mathis Evans, LLC, and Mathis Holding, Inc., only, with each party to bear its own
costs and attorney’s fees, as these parties have resolved their differences.

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Dated this éC' day of August, 2008.
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s/ Eric S. Eissenstat
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Inc.

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(Signed by Filing Attorney with Permission of
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Attorneys for Mathis Bros. Furniture Co., Inc.,
Mathis Bros. Oklahoma City, LLC, Mathis Evans,
LLC, and Mathis Holding, Inc.
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CERTIFICATE OF SERVICE

g I hereby certify that on August 20, 2008, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for (1) filing and (2)
transmittal of a Notice of Electronic Filing to the following ECF registrants: David A.
Burrage, Michael Burrage, Sean Burrage, Allen W. Campbell, Timothy A. Carney, James
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Samara, Larry J. Saylor, Matthew L. Standard, James M. Sturdivant, Rick L. Warren and
Ryan S. Wilson.

Oo I hereby certify that I served the attached document by regular U.S. Mail,
postage prepaid, on the following, who are not registered participants of the ECF System:
N/A.

s/ Eric S. Eissenstat
Attorney for Plaintiff Marquis Furniture, Inc.

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